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                                   RECORD NO. 13-4576

                                      IN THE
                         UNITED STATES COURT OF APPEALS
                             FOR THE FOURTH CIRCUIT


                            UNITED STATES OF AMERICA,

                                                               Plaintiff - Appellee,

                                             v.


                                  JOHN STUART DOWELL,

                                                               Defendant - Appellant.



             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            AT HARRISONBURG
                                __________

                                   BRIEF OF APPELLEE
                                       __________

                                           TIMOTHY J. HEAPHY
                                           United States Attorney
                                           Nancy S. Healey
                                           Assistant United States Attorney
                                           255 West Main Street, Room 130
                                           Charlottesville, Virginia 22902
                                           (434)293-4283
                                           Darcy Katzin,
                                           Trial Attorney
                                           United States Department of Justice Child
                                           Exploitation & Obscenity Division
                                           Counsel for Appellee
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                                  STATEMENT OF JURISDICTION

                  This is an appeal of a criminal case from the United States District Court for

        the Western District of Virginia in Harrisonburg. The district court had subject

        matter jurisdiction pursuant to 18 U.S.C. § 3231. The order of judgment was

        entered on July 25, 2013. The notice of appeal was filed on August 1, 2013. This

        Court has jurisdiction pursuant to 18 U.S.C. § 3742 and 28 U.S.C. § 1291.

                                   STATEMENT OF THE ISSUE(S)

           I.        WHETHER DOWELL’S WITHIN-GUIDELINES SENTENCE OF 960
                     MONTHS FOR MULTIPLE OFFENSES INCLUDING PRODUCTION
                     OF CHILD PORNOGRAPHY THAT INVOLVED TWO VERY
                     YOUNG CHILDREN, INCLUDING A THREE-YEAR-OLD GIRL
                     WHO DOWELL METHODICALLY GROOMED AND REPEATEDLY
                     MOLESTED, CONSTITUTES CRUEL AND UNUSUAL
                     PUNISHMENT IN VIOLATION OF THE EIGHTH AMENDMENT.

           II.       WHETHER DOWELL’S PRESUMPTIVELY REASONABLE,
                     WITHIN-GUIDELINES SENTENCE OF 960 MONTHS IS
                     REASONABLE, WHEN THE COURT PROPERLY CONSIDERED
                     AND EXTENSIVELY DISCUSSED THE FACTORS UNDER 18
                     U.S.C. § 3553(A).

           III.      WHETHER THE DISTRICT COURT ERRED IN APPLYING FIVE-
                     POINT ENHANCEMENTS FOR BOTH PATTERN OF ABUSE
                     UNDER U.S.S.G. §2G2.2(b)(5) AND FOR BEING A REPEAT AND
                     DANGEROUS SEXUAL OFFENDER UNDER U.S.S.G. §4B2.G AND
                     THEREBY IMPERMISSIBLY DOUBLE COUNTED SIMILAR
                     CONDUCT WHERE THE ENHANCEMENTS ADDRESS
                     DIFFERENT HARMS AND WERE INTENDED TO BE APPLIED
                     TOGETHER.



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             IV.    WHETHER THE DISTRICT COURT ERRED IN APPLYING THE
                    VULNERABLE VICTIM ENHANCEMENT UNDER U.S.S.G. §3A1.1
                    FOR DOWELL’S THREE-YEAR-OLD VICTIM WHOSE COGNITIVE
                    DEVELOPMENT WAS SUBSTANTIALLY LESS THAN OLDER
                    MINORS AND PREVENTED HER FROM UNDERSTANDING THE
                    NATURE OF DOWELL’S ACTIONS.


                            STATEMENT OF THE CASE AND FACTS1

                 John Stuart Dowell engaged in multiple escalating acts of molestation with a

        three-year-old girl and filmed those acts while staying at a Frederick County,

        Virginia, residence in late 2010 and early 2011. He also made two videos of a five

        year old girl that focused on this other child’s genital area. J.A. 45.

                 The investigation began when the Bureau of Immigration and Customs

        Enforcement (ICE) learned that Danish law enforcement had downloaded from the

        Internet some of the videos produced by Dowell depicting his abuse and

        exploitation of the three-year-old. J.A. 45-46. ICE obtained a “John Doe” warrant

        and sought to identify the adult male (Dowell) in the videos. J.A. 46. Around the

        same time, a relative of Dowell’s turned over a copy of some of the sexually

        explicit videos of Dowell and the three year old to the Federal Bureau of

        Investigation (FBI) in Florida and identified Dowell, the young child, and the

        residence depicted in the videos. J.A. 46. This information ultimately led to


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            Citations to the Joint Appendix are referenced with “J.A. at _____.”
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        Dowell’s arrest in California and the recovery of incriminating computer evidence

        and a camera. J.A. 4, 12-17. 46-47.

              On December 1, 2011, Dowell had his initial appearance in the Western

        District of Virginia (WDVA). J.A. 4.

              On December 8, 2011, Dowell had a preliminary hearing. J.A. 4.

              On December 14, 2011, a federal grand jury sitting in Charlottesville,

        Virginia, returned an indictment charging Dowell with a single count of

        employing, using, persuading, inducing, enticing, or coercing a minor girl, who

        was then approximately three years old, to engage in sexually explicit conduct, for

        the purpose of producing visual depictions of that conduct (hereafter production of

        child pornography).

              On April 25, 2012, after the forensic examination had been completed, a

        superseding indictment was returned, charging Dowell with ten counts of

        production of child pornography relating to his sexual exploitation of the three-

        year-old victim (Minor A); two counts of production of child pornography

        involving a five-year-old girl (Minor B); and one count of transportation of child

        pornography. J.A. 5, 18-21.




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              On October 3, 2012, Dowell pled guilty to all charges in the superseding

        indictment, without a plea agreement, before the Honorable United States District

        Judge Michael F. Urbanski. J.A. 23-56.

              The United States Probation Office prepared a revised Presentence Report

        (PSR), dated June 13, 2013, which calculated the offense levels as follows:

               Counts One through Three, Five through Seven, and Ten - Level 40:

                 Base offense level 32 pursuant to U.S.S.G. §2G2.1(a); four-level increase

                 pursuant to §2G2.1(b)(1)(A) because the victim was less than twelve

                 years old; two-level increase pursuant to §2G2.1(b)(5) because the child

                 was in the care of Dowell; and a two-level vulnerable victim increase

                 pursuant to §3A1.1(b)(1) due to the very tender age of the youngest

                 contact victim (Minor A). J.A. 340-41, 342-44, 345-46.

               Counts, Four, Eight, and Nine - Level 42:

                 Same calculations as for Counts One through Three, Five through Seven,

                 and Ten, but also adding two levels pursuant to §2G2.1(b)(2)(A),

                 because these offenses involved the commission of a sexual act or sexual

                 contact. J.A. 341-42, 344-45.




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               Counts Eleven and Twelve - Level 38:

                 Same calculations as for Counts One through Three, Five through Seven,

                 and Ten but without the two-level vulnerable victim enhancement. J.A.

                 346-47.

               Count Thirteen - Level 44:

                 Base offense level of 22 pursuant to §2G2.2(a)(2); two level increase

                 pursuant to §2G2.2(b)(2) because the offense involved a minor who was

                 younger than twelve; two-level increase pursuant to §2G2.2(b)(3)(F) for

                 distribution; four-level increase pursuant to §2G2.2(b)(4) because the

                 offense involved material that portrayed sadistic or masochistic conduct

                 or other depictions of violence; five-level increase pursuant to

                 §2G2.2(b)(5) because Dowell engaged in a pattern of activity involving

                 the sexual abuse or exploitation of a minor; two-level increase pursuant

                 to §2G2.2(b)(6) because the offense involved the use of a computer; five-

                 level increase pursuant to §2G2.2(b)(7)(D) because the offense involved

                 600 or more images; and a two-level increase pursuant to §3A1.1(b)(1)

                 for Minor A. J.A. 347-48.

        Level 44 was the greatest of the adjusted offense levels according to the PSR. J.A.

        348. A five-level increase was added under the grouping rules (production charges

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        do not group) under §3D1.4. J.A. 349. Dowell’s offense level was then decreased

        pursuant to §3E1.1 for acceptance of responsibility but then increased five levels

        pursuant to §4B1.5(b)(1) because Dowell qualified as a repeat and dangerous sex

        offender against minors. J.A. 349. Consequently, Dowell’s total offense level was

        43,2 J.A. 349, and his advisory guidelines “range” was simply life. U.S.S.G. Ch.

        5, Part A; J.A. 352. Because the statutory maximum sentence for each count was

        less than life, the Probation Officer aggregated all of the statutory maximum

        sentences, pursuant to U.S.S.G. §§5G1.2(b) and (d), for a final guideline range of

        4,560 months. J.A. 352.

              Dowell objected to the two-level increase for distribution and objected to

        application of both five level pattern-of-activity enhancements under §2G2.2(b)(5)

        and §4B1.5. J.A. 360-61. The Probation Officer disagreed with these objections.

        J.A. 361.

              Dowell appeared for sentencing on July 18, 2013. At the conclusion of the

        hearing, during which the district court 1) heard testimony from multiple witnesses

        for each party, including Dowell, and 2) viewed some of the horrific child

        2
         Dowell’s actual total offense level, as calculated by the Probation Officer, was 51,
        but because 43 is the maximum potential offense level under the Guidelines, it was
        reduced to 43 pursuant to U.S.S.G. Ch. 5, Pt. A, cmt. n.2. The district court
        ultimately removed the distribution enhancement from Count Thirteen, finding it
        was not supported by a preponderance of the evidence. J.A. 174. Thus, the final
        calculation was level 49, which, by necessity, was reduced to 43 as well.
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        pornography, the district court sentenced Dowell to a total term of 960 months of

        imprisonment and lifetime supervision. J.A. 23-323.

              Examination of the recovered digital evidence had revealed multiple videos

        Dowell had produced, depicting Minor A engaged in sexually explicit conduct,

        including footage of Dowell licking and kissing the little girl’s genital area,

        buttocks, and anus. Minor A referred to some of Dowell’s acts as “drinking” her

        body parts. J.A. 47, 87-88. During one video, Dowell displays and strokes his

        penis, and suggests that the victim can touch his penis and “drink” it too. J.A. 47.

        It is clear that Dowell methodically aimed to capture images of the girl’s vaginal

        and anal area and of his sexual abuse of the child, in essence, directing the scenes.

        See J.A. 49-52. Metadata established that the different counts in the superseding

        indictment were based on separate acts. J.A. 47. The forensic analysis also

        revealed Dowell’s production of two child pornography videos depicting Minor B

        and focusing on her genital area, one of them showing Dowell pulling down her

        underpants. J.A. 47-48.

              Testimony during the sentencing hearing by James Fottrell, director of the

        Department of Justice’s High Technology Investigative Unit, in the Child

        Exploitation and Obscenity Section, established that Dowell had child pornography

        and erotica on three seized devices. J.A. 72. Fottrell found 70,000 images and

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        videos, or about 75% of Dowell’s total images, qualified as child pornography or

        child erotica; approximately 10% consisted of anime depicting minors engaging in

        sexually explicit conduct, 10% was adult pornography, and 5% consisted of fetish

        videos, including scat (one featured Dowell) and bondage. See J.A. 73-75.

                Dowell used sophisticated programs to search for his collection, including

        programs with features that allow a user to engage in his online actions

        anonymously, including Freenet and TOR (The Onion Router). See J.A. 75-85.

        Fottrell described Dowell as “a very sophisticated offender who is using multiple

        technologies.” J.A. 83. Dowell claimed that someone hacked his computer and

        denied personally uploading the movies of his exploitation of Minor A. See J.A.

        122-23.3 The compilation video found on the Internet and turned over to ICE was

        not found on Dowell’s computers but the components were. J.A. 88-89; see also

        J.A. 134. However, Dowell did have video-editing software (and had in fact used

        such software) capable of making the compilation video. J.A. 97-99.

                Regarding Dowell’s non-self-produced collection, Fottrell testified about

        finding images depicting adult males sexually abusing infant and toddler girls and

        other types of child pornography and erotica. A sample was introduced as

        Government Exhibit 2. See J.A. 101-03. The district court also reviewed a CD

        containing a seven-minute compilation of excerpts of the videos Dowell produced
        3
            See also J.A. 138-42 (testimony of defense forensic examiner).
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        with the three- and five-year old girls that was introduced as Government Exhibit

        3. J.A. 104-11.

              In advocating for the vulnerable victim enhancement, the United States

        relied in large part on United States v. Jenkins, 712 F.3d 209 (5th Cir. 2013) and

        United States v. Wright, 373 F.3d 935 (9th Cir. 2004), because those cases had

        affirmed the application of this enhancement for child pornography depicting very

        young children, e.g., infants and toddlers. See J.A. 149-54. The United States

        pointed out that the Jenkins case was a child pornography trafficking case and not

        a production case and noted that Dowell’s non-self-produced collection included

        depictions of babies engaging in sexually explicit conduct, prompting the district

        court to review the previously introduced sample of images. J.A. 151. When the

        United States highlighted the unusual vulnerability of Dowell’s youngest victim, as

        compared to an older prepubescent minor, the district court stated the following:

              And we have seen the videos. And we have seen the exploitation of
              the three-year-old that is different by material degree to the
              exploitation of the five-year-old. They are both exploited … [W]hy is
              it that the three-year –old was subjected to this? And that’s because
              the three-year-old didn’t have the cognitive ability or the
              psychological development - - I mean, that child tried to say no …
              That child did say no. That child kept pulling her pants back up in
              these videos. But that child didn’t have the age and maturity to be
              able to stop this, didn’t understand what was going on, perhaps, even
              that the five-year-old had … there’s a difference there in the conduct.
              And that goes right to the heart of this vulnerable victim enhancement

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              … it is sort of right smacking me in the face in this case because we
              have different levels of conduct involving children of different ages.

        J.A. 152-53.

              The district court applied the vulnerable victim enhancement, highlighting

        Jenkins’ and Wright’s reliance on characteristics attendant to extreme youth. J.A.

        169-73. In doing so, the district court noted the following:

              [I]t is clear to me of how vulnerable [Minor A] is … and how her
              cognitive abilities just do not allow her to appreciate what is going on
              with her, what is being done to her, and the progression of this vile
              abuse that was inflicted on her.

              From my own viewing of the videos and looking at what happened
              over the progression, seeing that she plainly doesn’t understand what
              is going on here, focusing on her cognitive development, I believe this
              victim is particularly vulnerable.

        J.A. 172. The district court further noted 1) the “clear” psychological effect based

        on the progression of the abuse on Minor A, explaining that the girl thought she

        was playing with him due to her cognitive state, giggling and asking him to stop

        and trying to put her pants back on and 2) the progression to the young girl

        requesting Dowell’s sexual acts, “demonstrating the particular vulnerability

        psychologically in this child.” J.A. 172-73.

              The district court further found a “stark difference” between the abuse

        Dowell inflicted on Minor A and Minor B. J.A. 173. The district court clearly

        found the content of the videos to be persuasive on this enhancement (“…given the
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        vulnerable victim enhancement, I think the Court had to see [the videos]”). J.A.

        284.

               Regarding the objection to the application of both five-level pattern of abuse

        enhancements, the United States cited, inter alia, United States v. Schellenberger,

        246 F.Appx. 830 (4th Cir. 2007)(unpublished) in support of the simultaneous

        application of U.S.S.G. §§2G2.2(b)(5) and 4B1.5(b)(1). J.A. 155-58. The district

        court noted that the double-counting issue only applied to Count Thirteen, and

        further noted that “[t]he practical implication” was that it didn’t “really matter at

        the end of the day.” J.A. 155-56. Dowell admitted that he had not found any

        contrary law. J.A. 163. The district court thereafter emphasized the different

        purposes of the different sections and cited Schellenberger. J.A. 163, 176.

               In overruling Dowell’s objection, the district court noted that double

        counting is generally authorized unless the guidelines expressly prohibit it and

        found specifically that there was no prohibition on applying both of the contested

        provisions, again referring to Schellenberger and noting that §4B1.5(b)(1) directed

        the five-level enhancement was to be added to offense levels determined under

        Chapters Two and Three of the Guidelines. See J.A. 175-76. Finally, the district

        court found that a “plethora of precedents” supported the application of both

        enhancements. J.A. 177.

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              Thereafter, the district court found that the adjusted offense levels were 40

        for Counts One, Two, Three, Five, Six, Seven, and Ten; 42 for Counts Four, Eight,

        Nine, and Thirteen; and 38 for Counts Eleven and Twelve. J.A. 180-81. Due to

        the multiple groupings, the district court added five levels to the highest group,

        resulting in a level 47; subtracted three levels for acceptance of responsibility; and

        then added five levels pursuant to U.S.S.G. §4B1.5 for a total offense level of 49,

        but then reducing to a final, and highest authorized, level of 43. J.A. 182-83.

              While the Probation Officer’s and United States’ positions were that the

        district court needed to aggregate all of the maximum sentences for each count

        (4,560 months) pursuant to U.S.S.G. §4G1.2(d) because the aggregated sentences

        did not result in a “life” sentence, the district court stated that the language “only to

        the extent necessary to produce a combined sentence equal to the total

        punishment” allowed it to sentence to a lesser amount that would be tantamount to

        a life sentence for a defendant like Dowell. See J.A. 183-95, 305-09. The district

        court found that the guideline range should be 960 months. J.A. 193.

              In furtherance of its request for a guidelines sentence, the United States

        presented testimony from Dr. Donna Moore, Ph.D., an indisputable expert in

        psychosexual and sex offender evaluations and treatment (and who previously

        worked in the federal Sex Offender Treatment Program). She had interviewed,

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        tested, and evaluated Dowell. J.A. 198-243. Dr. Moore offered a diagnosis of

        pedophilia, based in large part on Dowell’s “statements about his attraction and the

        materials he was viewing” and had produced. J.A. 210-11. She explained that

        “pedophilia is not opportunistic,” J.A. 212, and characterized Dowell’s suggestion

        that he didn’t do anything to Minor A that she didn’t want him to do as a

        “cognitive distortion” and a shifting of responsibility. J.A. 212-16.

              Dr. Moore found that Dowell’s behavior was fairly consistent with that of

        other men she had diagnosed as pedophiles and further found that Dowell

        presented a risk to reoffend. See J.A. 218. She explained that pedophilia “is a

        lifelong persistent condition.” J.A. 222-23. She further talked about recidivism

        studies and noted that it was not uncommon for offenders to have significant

        periods of time between offenses. See J.A. 223-28. She was “very confident” in

        her diagnosis of pedophilia for Dowell. J.A. 228. She did not believe that

        Dowell’s participation in “Sex and Love Addicts Anonymous” was acceptable

        treatment and explained that that type of treatment undermined other treatment

        because the message would be that a participant was an addict and could not help

        his actions. J.A. 229.

              On cross examination, Dr. Moore acknowledged that pedophilia can be

        managed but also stated it could not be cured. J.A. 234-35. Indeed, when asked

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        whether treatment while imprisoned might lower Dowell’s future risk, Dr. Moore

        testified that this would not lower the risk but that, rather, “it provides external

        barriers while somebody is learning to manage their risk.” See J.A. 238-39.

              The contact victims’ father allocuted thereafter and spoke, in part, about the

        “unbearable” aftermath of the offenses. J.A. 244-45. The United States then read

        excerpts of victim impact statements associated with some of the images in

        Dowell’s significant collection; those excerpts highlighted the enduring harm not

        only from the primary abuse but also from the secondary trauma, stress, and

        knowledge that child pornography images that are posted on the Internet are there

        forever and the concern that the victims may be recognized and hurt again in other

        ways. See J.A. 247-56. The United States also informed the district court that the

        videos of Minor A had already been found in numerous collections. J.A. 256.

              Dowell’s brother testified about Dowell’s upbringing, history of depression

        and loneliness, and stated that Dowell had helped care for a nephew with cancer at

        some point. J.A. 257-62,

              Dowell was the final witness to testify. J.A. 263-82. He testified that he

        began looking at “naturist pictures” around 1998 or 1999 but acknowledged having

        bought a magazine with “underage females” when he was eighteen-years-old. J.A.

        266. When he began looking for Internet material depicting minors, he claimed he

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        first looked at “naturist videos,” which he then thought of “as being fairly

        innocent.” J.A. 267. He progressed to harder core material which he characterized

        as “addictive” (and later acknowledged finding highly arousing), talked about

        suffering from depression, and testified about becoming involved in

        support/counseling groups and helping others. See J.A. 267-73, 281. He thereafter

        asserted that he would “do anything possible not to offend in any way or be

        involved in child pornography in any way again.” J.A. 274. On cross-

        examination, he admitted serially molesting Minor A and trying to get her to

        engage in acts that he now realized she didn’t want to do. J.A. 275-76. He also

        admitted that he tried to get this little girl to do to him the same things he did to

        her. J.A. 277. He further indicated he now realized the girl “was vulnerable and

        not cognitively able to even know what was happening to her.” J.A. 278.

        Regarding his other extensive child pornography activity, he acknowledged using

        software that allowed for some measure of anonymity because he did not want to

        get caught. J.A. 279.

              In arguing for a guidelines sentence, the United States noted, in part, that

        Dowell was “unquestionably a pedophile;” a very sophisticated computer user; that

        he posed a recidivism risk; that he methodically groomed Minor A and violated the

        trust of the two contact victims and their parents; that the alleged therapy was

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        unsuccessful; that Dowell’s risky behavior resulted in the videos being on the

        Internet “forever;” and that he had committed his crimes for many years. J.A. 284-

        92, 299.

              In arguing for a lesser sentence, Dowell asked the district court to consider

        whether he was “savable at some level,” noting that he sought treatment in the past

        and had some redeemable qualities, and that therefore, a life sentence was greater

        than necessary. J.A. 302-03. He also characterized his crimes as “situational” and

        as “crime[s] of opportunity” rather than predatory. J.A. 303-304, Dowell then

        apologized and claimed he loved the youngest victim. J.A. 304-305.

              In sentencing Dowell to 960 months, the district court explained how the

        Section 3553(a) factors demanded such a sentence and stated that the sentence was

        not greater than necessary and was needed to protect the public. J.A. 309-15. The

        district court further noted that “the difference between this case and many of the

        child pornography cases we see is the contact, the contact, the contact, the

        touching, the touching, and more, the touching.” J.A. 309.

              The district court thereafter noted that it had read the sentencing memoranda

        and listened to everything presented that day. J.A. 310. Regarding the nature and

        circumstances of the offense, the district court found that Dowell had not

        committed a crime of opportunity but rather, regarding the abuse of the three-year-

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        old, a predatory, premeditated, calculated, cold, and heinous crime “designed to get

        that child to a point where she, in her young, young, young, and undeveloped

        cognitive state, became interested in this behavior.” J.A. 311. The district court

        further noted that the conduct was extremely, extremely serious,” noting that the

        videos of the youngest child had been disseminated to others. J.A. 312. Regarding

        offender characteristics, the district court noted that Dowell had been involved

        with child pornography for several years and that his pedophilia would not

        diminish with age. J.A. 312. The district court thereafter found that the

        seriousness of the offense, the need for just punishment, the need to afford

        adequate deterrence (specific and general), and the need to protect the public from

        further crimes of Dowell, each required a life term. J.A. 312-13. Such a sentence,

        did not result in any unwarranted sentencing disparity. J.A. 313. Moreover, “a life

        sentence in this case is required to do justice.”

                     Let me be clear. Let me be clear. This conduct, harming these
              children, touching these children, molesting these children, requires a
              life sentence. He did it on multiple days. He did it over multiple
              months. He did it in a predatory manner. He did it to produce these
              videos. Justice requires a life sentence.

                    In real and practical terms this sentence of 80 years, or 960
              months, is the maximum aggregate sentence the law allows me to
              impose. It is not greater than necessary. This sentence is necessary to
              protect the public and to make sure this defendant never has the
              opportunity to do this again.
        J.A. 315.
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              In order to achieve the total 960-month sentence, the district court imposed

        360-month sentences on all offenses against Minor A and 180-month sentences

        against Minor B and ran some of these sentences consecutively. The district court

        imposed a consecutive 60-month term on the transportation charge. J.A. 313-15.

        The Court also imposed lifetime supervision and $1300 in special assessments.

        J.A. 316-17.

              On July 25, 2013, the district court entered the judgment. J.A. 324-31.

              On August 1, 2013, Dowell filed a timely notice of appeal. J.A. 332.

                               SUMMARY OF THE ARGUMENTS

              I.       Dowell’s sentence of 960 months was not cruel and unusual in

        violation of the Eighth Amendment. Dowell cannot establish that his sentence

        creates an inference of gross disproportionality when it is compared with the

        seriousness of the multiple crimes for which he was convicted, including the

        repeated grooming, molestation, and exploitation of a vulnerable, three-year-old

        girl in order to produce depictions of that abuse, as well as the filming of a five-

        year-old girl. Under any theory, Dowell’s sentence was not disproportionate, and

        should be affirmed.

              II.      The district court imposed a substantively reasonable sentence of 960

        months, which was not in excess of the properly calculated guideline range, and is

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        therefore presumptively reasonable on appeal. The district court thoroughly

        considered the § 3553(a) factors, thoughtfully considered Dowell’s arguments at

        sentencing, and in light of Dowell’s calculated, premeditated, and predatory

        conduct, properly determined the offenses constituted very serious crimes worthy

        of a life sentence. The sentence should be affirmed by this Court.

              III.   The district court did not err in applying a five-point enhancement for

        pattern of activity involving the sexual abuse or exploitation of a minor pursuant to

        U.S.S.G. §2G2.2(b)(5) and a second five-point enhancement for engaging in a

        pattern of activity involving prohibited sexual conduct enhancement pursuant to

        the U.S.S.G. §4B1.5(b)(1). These provisions address different harms and the

        application of both does not constitute impermissible double counting. Finally,

        assuming arguendo that there was error, any such error would be harmless as it

        would not have affected the ultimate sentence.

              IV.    The district court did not err in applying a vulnerable victim

        enhancement pursuant to U.S.S.G. §3A1.1(b)(1) for Dowell’s exploitation of

        Minor A, despite the fact that age was considered in the calculation of the

        substantive offense guidelines. Due to Minor A’s cognitive and developmental

        youth, she was particularly vulnerable in a way that most older prepubescent

        children are not.

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                                              ARGUMENT

           I.       DOWELL’S SENTENCE OF 960 MONTHS WAS NOT CRUEL
                    AND UNUSUAL UNDER THE EIGHTH AMENDMENT;
                    DOWELL CANNOT ESTABLISH A GROSS INFERENCE OF
                    DISPROPORTIONALITY BETWEEN THE SENTENCE
                    IMPOSED AND THE CRIMES HE COMMITTED AND IF THIS
                    COURT WERE TO ENGAGE IN PROPORTIONALITY
                    ANALYSIS, DOWELL=S SENTENCE SHOULD BE AFFIRMED.

           A. Standard of Review

                This Court reviews the question of whether a sentence is proportional

        under the Eighth Amendment under the de novo standard. United States v.

        Meyers, 280 F.3d 407, 416 (4th Cir. 2002).

           B. Argument

                Dowell argues that his sentence of 960 months was cruel and unusual under

        the Eighth Amendment of the Constitution. Br. of Appellant at 8-14. But despite

        his arguments, Dowell cannot establish that an inference of gross

        disproportionality is apparent from a comparison of the sentence imposed to the

        horrendous crimes he committed, and has not shown that his sentence was cruel

        and unusual. Moreover, if this Court engaged in proportionality review, Dowell=s

        Eighth Amendment argument is simply unavailing and his sentence should be

        affirmed.




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              This Court has held that Aproportionality review [under the Eighth

        Amendment's Cruel and Unusual Punishment Clause] is not available for any

        sentence less than life imprisonment without the possibility of parole.@ United

        States v. Malloy, 568 F.3d 166, 180 (4th Cir. 2009) (quoting United States v. Ming

        Hong, 242 F.3d 528, 532 (4th Cir. 2001)). However, notwithstanding the broad

        language regarding the unavailability of proportionality review from Malloy and

        Ming Hong, this Court has not categorically refused to review Eighth Amendment

        challenges to term of years sentences. Cf. Malloy, 568 F.3d at 180. For example,

        both before and after Malloy, the Fourth Circuit has repeatedly rejected Eighth

        Amendment challenges to some sentences on the merits, without holding that

        Eighth Amendment challenges to sentences for terms of years are categorically

        foreclosed. See United States v. Hinnant, 384 Fed.Appx. 276, 278-279 (4th Cir.),

        cert. denied, 131 S. Ct. 349 (2010)(unpublished); United States v. Monge, 332

        Fed.Appx. 901 (4th Cir. 2009)(unpublished); United States v. Washington, 366

        Fed.Appx. 463, (4th Cir. 2010)(unpublished); United States v. Wright, 254

        Fed.Appx. 974, 976 (4th Cir. 2007), cert. denied, 552 U.S. 1301 (2008)

        (unpublished); United States v. Crawford, 175 Fed.Appx. 594, 596 (4th Cir.), cert.

        denied, 549 U.S. 890 (2006) (unpublished); United States v. McKenzie, 96

        Fed.Appx. 164, 166 (4th Cir.), cert. denied, 543 U.S. 915 (2004)(unpublished);

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        United States v. Presley, 52 F.3d 64, 68 (4th Cir. 1995). Indeed, in Malloy itself,

        though the Court determined, in reliance upon Ming Hong, that proportionality

        review was not available because the defendant was sentenced to a term of less

        than life without parole, it went on to state:

              Even if proportionality review were available, however, it likely would not
              change the result here. The Supreme Court has explained that A[s]evere,
              mandatory penalties may be cruel, but they are not unusual in the
              constitutional sense, having been employed in various forms throughout our
              Nation=s history.@ Harmelin v. Michigan, 501 U.S. 957, 994-95 (1991). The
              imposition of Malloy=s 15-year sentence was for the very serious offense of
              sexual exploitation of a minor, and it is a result mandated by Congress. Our
              sister circuits to have considered the issue have also rejected the Eighth
              Amendment challenge to 2251.

        568 F.3d 166, 180 n.14 (4th Cir. 2009)(citations omitted).

              A. Dowell=s sentence does not give rise to an inference of gross
              disproportionality.

              The Eighth Amendment states that A[e]xcessive bail shall not be required,

        nor excessive fines imposed, nor cruel and unusual punishments inflicted.@ U.S.

        Const. amend. VIII. The Supreme Court has interpreted the Eighth Amendment to

        prohibit punishment that is Agrossly disproportionate@ to the offense of

        conviction. Solem v. Helm, 463 U.S. 277, 288 (1983). The Supreme Court has

        also held that a court must only conduct proportionality review Ain the rare case in




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        which a threshold comparison of the crime committed and the sentence imposed

        leads to an inference of gross disproportionality.@ Ewing v. California 538 U.S.

        11, 30 (2003)(quoting Harmelin v. Michigan, 501 U.S. 957,1005)(1991)(Kennedy,

        J., concurring)). The Anarrow proportionality@ principle applies to both capital and

        non-capital sentences, Harmelin, 501 U.S. at 996-97(Kennedy, J., concurring)

        (citations and internal quotations omitted), but Aoutside the context of capital

        punishment, successful challenges to the proportionality of particular sentences are

        exceedingly rare.@ Harmelin, 501 U.S.at 1001)(Kennedy, J., concurring). In

        Rummel v. Estelle, 445 U.S. 263, 274 n. 11 (1980), the Court stated that the

        proportionality principle Awould . . .come into play in the extreme example . . .if a

        legislature made overtime parking a felony punishable by life imprisonment.@ In

        Athe rare case@ where there is a threshold finding of an inference of gross

        disproportionality, then a court must perform the Eighth Amendment

        proportionality test articulated by the Supreme Court in Solem v. Helm, looking at

        A(I) the gravity of the offense and the harshness of the penalty; (ii) the sentences

        imposed on other criminals in the same jurisdiction; and (iii) the sentences

        imposed for commission of the same crime in other jurisdictions.@ 463U.S. 277,

        292 (1983). But if the threshold showing of gross disproportionality is not met, as




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        in Harmelin, and in Dowell=s case, the analysis ends there. 501 U.S. at 1005;

        accord Lockyer v. Andrade, 538 U.S. 63, 73 (2003).

              Dowell=s crimes and his resulting sentences do not establish an inference of

        gross proportionality, and this Court should find that the cumulative sentence of

        960 months does not violate the Eighth Amendment. In keeping with the above

        principles, a plurality of the Court in Harmelin rejected the defendant's assertion

        that his life term without parole was disproportionate because it was his first felony

        conviction. Harmelin, 501 U.S. at 994. Instead, the Court observed that the

        defendant had been convicted of possession of more than 650 grams of cocaine and

        held that Michigan could determine that the seriousness of the offense warranted

        the severe sentence. Id. at 990. Other relevant precedential decisions from the

        Supreme Court also strongly suggest that Dowell=s sentence should be sustained.

        The Supreme Court observed in Hutto v. Davis, 454 U.S. 370 (1982) (per curiam),

        that it "has never found a sentence for a term of years within the limits authorized

        by statute to be, by itself, a cruel and unusual punishment." Id. at 372 (citation

        omitted). Rather, the Supreme Court has repeatedly sustained sentences to lengthy

        terms of imprisonment in the face of Eighth Amendment challenges. In Rummel v.

        Estelle, 445 U.S. at 265-266, 285, for example, the Court upheld a life sentence

        with the possibility of parole under a state recidivist statute for a defendant with

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        three successive convictions for fraudulent use of a credit card to obtain $80 worth

        of goods, passing a forged check for $28.36, and obtaining $120.75 by false

        pretenses. Likewise, in Hutto the Court upheld a 40-year sentence for the crime of

        distributing nine ounces of marijuana. See 454 U.S. at 371-375. And in Ewing, 538

        U.S. at 28-31, the Court upheld a sentence of 25 years to life imprisonment under a

        state recidivist statute for the offense of felony grand theft. Surely, the offenses in

        Harmelin, Estelle, Hutto, and Ewing are no more serious than Dowell’s.

              AThe Constitution does not require legislatures to balance crimes and

        punishments according to any single standard, or to achieve perfect equipoise.@

        United States v. Polk, 546 F.3d 74, 76 (1st Cir. 2008). An Eighth Amendment

        violation for a term of years sentence is thus "hen's-teeth rare." Id. Illustrating that

        point are numerous decisions in which the various circuit courts of appeal have

        upheld term of years sentences against Eighth Amendment challenges. See, e.g.,

        Polk, 546 F.3d at 77-78 (upholding 188-month term of imprisonment for

        attempting to produce child pornography); United States v. Frisby, 258 F.3d 46,

        47, 50 (1st Cir. 2001) (upholding 151-month term of imprisonment for heroin

        distribution by a career offender, even though his sentencing range would have

        been 24 to 30 months imprisonment if he were not a career offender); United

        States v. Graciani, 61 F.3d 70, 73-77 (1st Cir. 1995) (upholding 280-month term

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        of imprisonment for distributing 85.3 grams of crack cocaine); United States v.

        Walker, 473 F.3d 71, 82-83 (3d Cir.) (upholding application of a 55- year

        mandatory minimum term of imprisonment for three convictions for use of a

        firearm during a crime of violence), cert. denied, 549 U.S. 1327 (2007); United

        States v. Rhodes, 779 F.2d 1019, 1026, 1029 (4th Cir. 1985) (upholding 75- and

        50-year terms of imprisonment without parole), cert. denied, 476 U.S. 1182

        (1986); United States v. Dobrowolski, 406 Fed.Appx. 11, 12, 14 (6th Cir.

        2010)(unpublished) (upholding mandatory minimum sentence of ten years

        imprisonment); United States v. Wiest, 596 F.3d 906, 911-913 (8th Cir.)

        (upholding mandatory minimum sentence of 57 years imprisonment), cert. denied,

        131 S. Ct. 339 (2010); United States v. Angelos, 433 F.3d 738, 750-751 (10th Cir.)

        (upholding mandatory minimum sentence of 55 years imprisonment for three

        convictions of use of a firearm during a drug trafficking crime), cert. denied, 549

        U.S. 1077 (2006); United States v. Farley, 607 F.3d 1294, 1345 (11th Cir. 2010)

        (reversing a district court's ruling that a 30-year mandatory minimum sentence for

        crossing a state line to engage in sexual activity with a minor was

        unconstitutional); United States v. Bullock, 550 F.3d 247, 252 (2d Cir. 2008)(15-

        year mandatory sentence under the Armed Career Criminal Act for possession of

        eight rounds of ammunition not cruel and unusual); United States v. Thomas, 627

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        F.3d 146, 160 (5th Cir. 2010)(1,435-month sentence for armed bank robbery not a

        violation of the Eighth Amendment); United States v. Soule, 250 Fed.Appx. 834,

        837-38 (10th Cir. 2007) (unpublished) (mandatory minimum 120 months for repeat

        offender possessing child pornography not cruel and unusual); United States v.

        Jones, 480 Fed.Appx. 969, 971 (11th Cir. 2012)(unpublished) (25-year consecutive

        sentence under 18 U.S.C. 924(c)(1)(C) not on its face in violation of the Eighth

        Amendment and sentence, as applied, did not violate the Eighth Amendment);

        United States v. Walls, 70 F.3d 1323, 1328 (D.C. Cir. 1995) (life for major players

        in drug conspiracy not cruel and unusual, but crack minimum mandatory penalties

        for minor players were).

              At the outset, it should be noted that Dowell=s sentence of 960 months is the

        result of Astacking@ four of the thirteen counts, i.e., the imposition of consecutive

        sentences on four counts, in order to achieve what the district court found to be

        “the total punishment,” consistent with the directives in the United States

        Sentencing Guidelines. See U.S.S.G. '5G1.2(d). But Eighth Amendment

        proportionality analysis focuses on the sentence imposed for each specific crime,

        not on the cumulative sentence for multiple crimes. See, e.g., O'Neil v. Vermont,

        144 U.S. 323, 331 (1892) (AIf [the defendant] has subjected himself to a severe

        penalty, it is simply because he committed a great many such offenses.@); Ming

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        Hong, 242 F.3d at 532, citing Hawkins v. Hargett, 200 F.3d 1279, 1285, n.5 (10th

        Cir. 1999), cert. denied, 531 U.S. 830 (2000)(explaining that A[t]he Eighth

        Amendment analysis focuses on the sentence imposed for each specific crime, not

        on the cumulative sentence for multiple crimes@); United States v. Schell, 692 F.2d

        672, 675 (10th Cir. 1982) (twenty-year sentence consecutive to current ninety-five

        year sentence not an Eighth Amendment violation). In that light, in United States

        v. Khan, 461 F.3d 477, 495 (4th Cir. 2006), this Court rejected a defendant=s

        argument that the length and consecutive nature of his sentence (120 months, 300

        months and life imprisonment imposed pursuant to the Acountstacking@ provisions

        of 924(c)(1)) constituted cruel and unusual punishment in violation of the Eighth

        Amendment, and held that lengthy, mandatory sentences imposed pursuant to the

        Acount-stacking@ provision of ' 924(c) do not violate the Eighth Amendment.

        Similarly, though Dowell=s sentences were not mandated by the statute, the

        cumulative total was the result of the district court stacking the maximum statutory

        penalties available on two of the counts of conviction, and the minimum statutory

        penalties available on two other counts of conviction in order to reach the total

        punishment. AIn general, a sentence within the limits imposed by statute is neither

        excessive nor cruel and unusual under the Eighth Amendment.@ United States v.

        Moriarity, 429 F.3d 1012, 1024 (11th Cir. 2005)(internal quotation marks

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        omitted); United States v.Delacruz-Soto, 414 F.3d 1158, 1168 (10th Cir. 2005)

        (same). For this reason, Dowell=s cumulative sentence of 80 years does not present

        a threshold inference of disproportionality.

              B. The Gravity of the Offense and Similar Sentences

              AChild sex crimes are among the most egregious and despicable of societal

        and criminal offenses....@ United States v. Sarras, 575 F.3d 1191, 1220 (11th Cir.

        2009). Congress, courts, and scholars all recognize and acknowledge that child

        pornography crimes have at their core a demand for the sexual exploitation and

        abuse of children. Regarding the gravity of the offense at issue, there can be no

        question that the creation and dissemination of child pornography is a serious

        crime that causes real injury to particularly vulnerable victims. And it is most

        obvious that in the production of child pornography children are seriously

        harmedCphysically, emotionally, and mentallyC and that harm is then exacerbated

        by the circulation, often for years after the fact, of a graphic record of the child's

        exploitation and abuse. See New York v. Ferber, 458 U.S. 747, 757B59 & nn.9B10

        (1982) (citing congressional and scholarly reports, and court cases). The

        distribution of child pornography feeds an industry that causes physiological,

        emotional and mental trauma to the child victims. See Osborne v. Ohio, 495 U.S.

        103, 109 (1990). Possession, receipt, distribution and production of child

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        pornography are significant crimes because such crimes threaten grave harm to our

        society and its most vulnerable citizens. See Harmelin, 501 U.S. at 1002.

              Dowell cannot show that his sentence is grossly disproportionate to his

        offense conduct. Dowell engaged in predatory, targeted sexual molestation of a

        three-year-old girl over a period of months. He videotaped this molestation for his

        own perverse sexual pleasure and for the purpose of continuing to abuse Minor A

        girl by watching the recordings. As described in more detail above, the videos

        depict the defendant touching, licking, and kissing Minor A=s genital area, and

        licking and kissing her buttocks and anus. The defendant is seen in one video with

        his penis displayed, and, in essence, enticing her to perform similar acts on him.

        Dowell engaged in classic grooming behavior to prey on this victim, gaining

        access to her by gaining the trust of her parents, and using calculated strategies to

        make her more comfortable over time with the abusive sexual conduct he imposed

        on her. Notably, these videos have been found on the Internet as part of this, as

        well as other, unrelated investigations. Dowell also produced two sexually explicit

        videos of a five-year-old girl. It is difficult to fathom, much less quantify, the

        harm perpetrated on the victims in this case, and as the government pointed out at

        the sentencing hearing below, impossible to predict its long-term effects,

        particularly on Minor A. But whatever that harm might be, and however long-

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        lasting the effects, Dowell=s calculated, predatory sexual abuse and exploitation of

        these girls was unthinkable.

              Contrary to Dowell=s arguments, the circumstances of this case do not

        mitigate the severity of the criminal conduct at issue. In arguing that his sentence

        was constitutionally excessive, Dowell pleads that (1) his sentence deprives him of

        Aa meaningful opportunity to obtain release based on demonstrated maturity and

        rehabilitation,@ (2) Dowell=s victim Awas never placed in any danger . . . [and] was

        not physically injured in any way, shape, or form.@ and (3) that the child

        pornography statutes are unusually punitive. See Br. of Appellant at 9-13.

              Regarding his assertion that the sentence imposed deprives him of any

        meaningful opportunity to obtain release, Dowell relies on Graham v. Florida, 560

        U.S. 48, 74 (2010) to argue that a Alengthy, parole ineligible sentence runs afoul of

        the principle that life sentences should not be imposed lightly, unreviewably, or for

        other than life-punishable offenses.@ See Br. of Appellant at 8. First, Dowell=s

        reliance on Graham is entirely inapposite, as that case addressed the narrow

        question of the constitutionality of a life sentence imposed on a juvenile offender

        for a non-homicide crime. Moreover, in this case, the sentencing judge carefully

        considered the relevant sentencing factors, including the nature and circumstances

        of the offense conduct, before explicitly reaching the conclusion that Aa life

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        sentence in this case is required to do justice.@ J.A. 311-15. As such, Dowell=s

        complaint that his sentence violates the Eighth Amendment because it denies him a

        meaningful opportunity to be released is without merit.

              Dowell’s suggestion that the fact that his victim Awas never placed in any

        danger . . . and was not physically injured …@ Br. of Appellant at 10, somehow

        lessens the gravity of his offense is absurd. Dowell groomed, molested, and

        abused Minor A, who was just three-years-old, pursuing sexual pleasure for

        himself, and memorializing this abuse, which is now available for viewing by other

        like-minded individuals). Dowell also personally exploited another young child.

        Beyond these horrible acts, Dowell collected many vile images and videos of other

        child victims being raped and abused, including images similar in nature to the

        abuse he perpetrated on Minors A and B. Dowell was convicted of using two very

        young children to gratify his own perverse sexual interests and produce child

        pornography. He was also convicted of transporting these images, which were part

        of his collection of over 78,000 other non-self produced child pornography images

        and videos and erotica. He is a sexual predator and his sentence of 960 months,

        though effectively a life sentence, appropriately reflects the seriousness of the

        egregious acts he committed against the children he exploited, and the abuse

        against other children he perpetrated by possessing their images. The severity of

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        Dowell’s crimes case cannot be overstated and these crimes have indeed injured

        his victims in multiple ways. This is clearly not Aone of the most passive felonies a

        person could commit.@ Solem, 463 U.S. at 296 (citation and internal quotations

        omitted).

              For all these reasons, Dowell=s sentence of 960 months does not raise an

        inference of gross disproportionality, nor do the individual sentences he received

        on each count raise any inference of disproportionality, when viewed against the

        backdrop of his conduct. Moreover, various circuit courts have considered Eighth

        Amendment challenges to child pornography sentences, and have repeatedly

        upheld sentences within the statutory minimum and maximum ranges. See, e.g.,

        United States v. Falgout, 325 Fed.Appx. 775 (11th Cir. 2009)(unpublished)

        (sentence of 11,520 months not in violation of the Eighth Amendment); United

        States v. Paton, 535 F.3d 829, 837-38 (8th Cir. 2008)(concluding that life sentence

        for five counts of production of child pornography was not cruel and unusual

        punishment in violation of the Eighth Amendment); Polk, 546 F.3d at 74-78

        (upholding 15-year sentence for attempted production of child pornography);

        United States v. Puglisi, 458 Fed.Appx. 31, 35 (2d Cir. 2012)

        (unpublished)(upholding 15-year sentences for production and attempted

        production of child pornography); United States v.MacEwan, 445 F.3d 237, 250

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        (3d Cir. 2006)(upholding 15-year mandatory minimum sentence for production of

        child pornography); United States v. Davis, 306 Fed.Appx. 102, 104 (5th Cir.

        2009)(unpublished)(upholding 200-month sentence for attempted production of

        child pornography); United States v. Herrick, 512 Fed.Appx. 534, 538 (6th Cir.

        2013)(unpublished)(upholding 1,140-month sentence for production, distribution,

        and possession of child pornography); United States v. Gross, 437 F.3d 691, 694-

        95 (7th Cir. 2006)(15-year mandatory minimum sentence for recidivist distributing

        child pornography); United States v. Weis, 487 F.3d 1148, 1154 (8th Cir. 2007)

        (upholding sentence of less than the twenty-year maximum under 18 U.S.C. '

        2252(a)(2)); United States v. Soule, 250 Fed.Appx. 834, 837-38 (10th Cir. 2007)

        (unpublished)(upholding mandatory minimum 120-month sentence for repeat

        offender convicted of possession of child pornography); United States v. Merchant,

        506 Fed.Appx. 959, 960-61 (11th Cir. 2013)(unpublished)(upholding 17.5-year

        sentence for distribution of child pornography); United States v. Blage, 426

        Fed.Appx. 829 (11th Cir. 2011)(unpublished)(upholding 720-month sentence

        imposed for conviction on two counts of production of child pornography); United

        States v. Higgins, 504 Fed.Appx. 786 (11th Cir. 2009) (unpublished)(upholding

        15-year mandatory minimum production sentence); United States v. Green, 259

        Fed.Appx. 171, 177 (11th Cir. 2007)(unpublished) (upholding 97-month sentence

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        for receipt and possession of child pornography); United States v. Johnson, 451

        F.3d 1239 (11th Cir. 2006) (holding that a 140-year sentence for producing and

        distributing child pornography was not cruel and unusual because the sentence was

        within the statutory limits and thus, not disproportionate to the offense).

              Dowell points to a chart of federal statutes in support of his argument that

        the child pornography statutes are unusually punitive. See Br. of Appellant at 11-

        12. Dowell emphasizes that many of the federal crimes in the chart carry no

        minimum mandatory penalty. Id. at 11. As stated earlier in this brief, however,

        Dowell=s sentence was derived from stacking the maximum statutory penalties of

        two counts of conviction with the minimum mandatory penalties of two other

        counts (the remaining nine counts running concurrently). Without enumerating the

        various offenses, the chart makes clear that some of the offenses in the chart carry

        statutory penalties up to life and others carry the potential for other significant

        penalties (the chart omits enhanced sentences), and though it may be difficult to

        fully understand why certain crimes, such as child genital mutilation, carry the

        penalties they do,4 the Constitution Adoes not require legislatures to balance crimes

              4
                Child genital mutilation under 18 U.S.C. ' 116 carries only a maximum
        penalty of five years, but the legislative history suggests this may have been guided
        by the fact that such practices are related to certain cultural practices and religious
        beliefs. Section 645(a) of Div. C of Pub.L. 104-208 provides that:AThe Congress
        finds thatCA(1) the practice of female genital mutilation is carried out by members
        of certain cultural and religious groups within the United States . . ..@
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        and punishments according to any single standard, or to achieve perfect equipoise.@

        Polk, 546 F.3d at 76. Further, Dowell ignores the fact that a defendant convicted of

        multiple counts of conviction under many of the listed offenses, could, like he did,

        face a punishment reached by stacking the maximum penalties for each count to

        reach a cumulative total punishment. For example, Dowell argues that Awar crimes

        carry available sentences less than production of child pornography,@ Br. of

        Appellant at 12, but under 18 U.S.C. ' 2441, that crime is punishable up to life, (or

        death if death resulted to the victim) and a defendant convicted of multiple acts

        would face the possibility of multiple life sentences.

              Dowell also compares his sentence to Athe national average sentence for

        child pornography crimes@ of 132 months as well as to sentences for other types of

        crimes, such as kidnapping and hostage taking. See Br. of Appellant at 13-14.

        This reference is simply inapposite, as the national average he cites includes

        sentences for possession, receipt, and distribution convictions, which can, and

        generally do, result in significantly lower sentences than production convictions.

        Regarding Dowell=s comparison to sentences for other types of crimes, as

        discussed above, Congress is not obligated to balance punishments to any single

        standard. Polk, 546 F.3d at 76. Finally, as also detailed above, numerous circuit




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        courts have considered and rejected Eighth Amendment challenges to similar child

        pornography sentences.

              The Eighth Amendment provides a narrow proportionality guarantee which

        forbids only “rare” sentences that are Agrossly disproportionate@ to the crime.

        Ewing, 538 U.S. at 30(quoting Harmelin, 501 U.S. at 1005). A comparison of

        Dowell=s calculated, predatory, abusive, and perverse conduct to a sentence of 960

        months does not create an inference of gross disproportionality. See Herrick, 512

        Fed.Appx. at 538-39; Falgout, 325 Fed. Appx. at 779. For all the above reasons,

        Dowell=s sentence should be affirmed.


        II.   THE DISTRICT COURT IMPOSED A REASONABLE SENTENCE
              WHEN IT SENTENCED DOWELL TO A WITHIN-GUIDELINE
              RANGE SENTENCE OF 960 MONTHS.
              A.     Standard of Review.

              This Court reviews sentences for reasonableness under a deferential abuse-

        of-discretion standard. Gall v. United States, 552 U.S. 38, 51 (2007); United States

        v. Crawford, 734 F.3d 339, 341-42 (4th Cir. 2013). A reasonableness review

        includes both procedural and substantive components. Id. A sentence is

        procedurally reasonable where the district court committed no significant

        procedural errors, such as improperly calculating the Guidelines range, failing to

        consider the 18 U.S.C. § 3553(a) factors, or insufficiently explaining the selected

                                                 37
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        sentence. United States v. Boulware, 604 F.3d 832, 837–38 (4th Cir. 2010). The

        substantive reasonableness of a sentence is assessed in light of the totality of the

        circumstances. Gall, 552 U.S. at 51. While a sentence may be substantively

        unreasonable if the § 3553(a) factors do not support the sentence, “[r]eviewing

        courts must be mindful that, regardless of ‘the individual case,’ the ‘deferential

        abuse-of-discretion standard of review ... applies to all sentencing decisions.’ ”

        United States v. Diosdado–Star, 630 F.3d 359, 366 (4th Cir.), cert. denied, ___

        U.S. ___, 131 S. Ct. 2946 (2011)(citing Gall, 552 U.S. at 52). Moreover, a

        sentence that falls within a properly calculated Guidelines range is presumptively

        reasonable. United States v. Allen, 491 F.3d 178, 193 (4th Cir. 2007).

              B.     Argument

              In his second argument, Dowell complains that his sentence “failed to

        comply with the objectives of the Federal Sentencing Statute.” Br. of Appellant at

        15. His primary basis for this claim appears to be Dowell’s lack of prior criminal

        history and the fact that Dowell did not commit a homicide offense. See id. at 15-

        17. As set forth below, this claim is unsupportable.

              In reviewing a criminal sentence to determine if it is reasonable, this Court

        must first ensure that the district court committed no significant procedural error.

        Gall, 552 U.S. at 46, 51. A district court commits a procedural error if it fails to

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        properly calculate the Guidelines, treats the Guidelines as mandatory, fails to

        consider the statutory factors under 18 U.S.C. § 3553(a), bases a sentence on facts

        that are clearly erroneous, or fails to adequately explain the sentence imposed. Id.

        at 51; United States v. Layton, 564 F.3d 330, 336 (4th Cir. 2009). If no procedural

        error exists, the Court reviews “the substantive reasonableness of the sentence

        imposed” for abuse of discretion. Gall, 552 U.S. at 51. The Court further evaluates

        the substantive reasonableness of a sentence “in light of all the relevant facts,”

        Layton, 564 F.3d at 337 (quoting United States v. Curry, 523 F.3d 436, 439 (4th

        Cir. 2008)) (internal quotation marks omitted), and taking into account the totality

        of the circumstances. United States v. Pauley, 511 F.3d 468, 473 (4th Cir. 2007).

        A sentence imposed within the properly calculated Guidelines range is

        presumptively reasonable. Rita v. United States, 551 U.S. 338, 327 (2007); United

        States v. Abu Ali, 528 F.3d 210, 261 (4th Cir. 2008).

              In the present case, Dowell faced a combined maximum statutory penalty of

        4,560 months, or 380 years. See J.A. 352. Dowell also faced an advisory

        guideline range of life, corresponding to a Criminal History Category of I, and a

        total offense level of 43.5 United States Sentencing Guidelines, Sentencing Table;

        J.A. 352. Dowell’s advisory guideline range was therefore properly calculated at
        5
         Although Dowell’s offense level scored well above 43, Level 43 is the maximum
        level allowed. See U.S.S.G. Ch. 5, Pt. A, cmt. n.2.

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        life, reduced by the Probation Officer to 4,560 months, the total of the combined

        statutory maximum penalties for the counts of conviction,6 J.A. 352, which was

        then reduced by the district court to 960 months as set forth above. Dowell did not

        object to the court’s ultimate conclusions regarding the applicable guideline range

        (i.e., life), but did object to certain enhancements. J.A. 360-61.

                 As set forth above, the district court imposed a custodial term of 960 months

        by imposing the sentences for some counts consecutively, as permitted by

        U.S.S.G. § 5G1.2(b) and (d). J.A. 193-94; United States v. White, 238 F.3d 537

        (4th Cir. 2001). Dowell fails to provide any basis for concluding his sentence is

        not reasonable. Moreover, because Dowell’s 80-year sentence does not exceed his

        advisory guideline range, the sentence is entitled to a presumption of

        reasonableness on appeal. Abu Ali, 528 F.3d at 261; United States v. Bynum, 604

        F.3d 161, 168–69 (4th Cir. 2010). Further, “[e]ven if [this Court] would have

        reached a different sentencing result on [its] own, this fact alone is ‘insufficient to

        justify reversal of the district court.’” Pauley, 511 F.3d at 474 (quoting Gall, 552

        U.S. at 51). “[A] defendant can only rebut the presumption [of reasonableness] by

        demonstrating that the sentence is unreasonable when measured against the §

        3553(a) factors.” United States v. Montes-Pineda, 445 F.3d 375, 379 (4th Cir.



        6
            The PSR also accurately set forth the statutory ranges for each charge. JA 352.
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        2006) (internal quotation marks and citation omitted), cert. denied, 551 U.S. 1163

        (2007).

              There is no basis for concluding that the district court did not perform its

        duty to consider the requisite factors. Indeed, the record shows the district court

        accorded full opportunity to both Dowell and the United States to address the

        factors material to the sentence, and the parties availed themselves of that

        opportunity. The sentencing transcript is over 250 pages long and includes

        testimony in support of arguments for each party, Dowell’s own testimony and

        allocution, and statements made on behalf of multiple victims. The district court

        encouraged defense counsel to address Dowell’s objections to the PSR point by

        point and defense counsel did just that. Only after the district court heard

        extensive evidence and argument (and considered filings made in support of

        sentencing) did the district court make thoughtful and detailed findings about the

        guidelines calculations and the appropriate sentence. Given the wealth of

        information provided to the district court, the zealous representation by Dowell’s

        counsel, and the careful analysis and consideration by the district court, Dowell has

        failed to rebut the presumption or show that the district court abused its discretion

        in choosing a within-guidelines sentence.




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              To the extent that Dowell contests the district court’s decision to deny his

        request for a lower sentence, this is insufficient to overcome the presumption of

        reasonableness. See United States v. Trejo-Martinez, 481 F.3d 409, 413 (6th Cir.

        2007). The district court in the present case did not select the sentence arbitrarily,

        base the sentence on impermissible factors, fail to consider pertinent section

        3553(a) factors, or give an unreasonable amount of weight to any pertinent factor.

        As the Sixth Circuit has observed, in these circumstances, “[t]he mere fact that [a

        defendant] desired a more lenient sentence, without more, is insufficient to justify

        our disturbing the reasoned judgment of the district court.” Trejo-Martinez, 481

        F.3d at 413. This is because it is not the province of the appellate court to

        substitute its judgment for that of the sentencing court. See Gall, 552 U.S. at 51

        (the fact that the appellate court might reasonably have concluded that a different

        sentence was appropriate is insufficient to justify reversal of the district court).

              Dowell suggests that “[i]t would be difficult to imagine a situation in which

        a sentence of 80 years … for a first offender is ‘not greater than necessary’” Br. of

        Appellant at 16. He further contends that such a sentence is not reasonable in a

        non-homicide case. Id. at 17. Dowell thus challenges the substantive

        reasonableness of his within-Guidelines sentence.




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              But the district court, after fully considering the nature of the offense and

        crediting Dr. Moore’s conclusions about Dowell – and after considering the other

        requisite factors - imposed a sentence that was appropriate in order to deter Dowell

        from further crimes and in light of Dowell’s overall conduct, which included

        deviant sexual behavior against two very young children, the district court was

        well within its discretion in concluding that no variance from the Guidelines was

        justified. Although he had no prior criminal convictions, Dowell harmed

        numerous children, by both producing his own child pornography and in amassing

        a substantial collection of other child abuse images, and he poses a future danger to

        them. The threat of recidivism by a pedophile who has sexually abused a child is

        “appalling.” United States v. Pugh, 515 F.3d 1179, 1201 (11th Cir. 2008). (“As

        Congress has found … child sex offenders have appalling rates of recidivism and

        their crimes are under-reported.”); see also United States v. Allison, 447 F.3d 402,

        405–06 (5th Cir. 2006) (“Congress explicitly recognized the high rate of

        recidivism in convicted sex offenders, especially child sex offenders.”). The

        Supreme Court has also noted “grave concerns over the high rate of recidivism

        among convicted sex offenders and their dangerousness as a class,” and has found

        that “[t]he risk of recidivism posed by sex offenders is frightening and high.” Smith

        v. Doe, 538 U.S. 84, 103 (2003) (quotation marks omitted).

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              The fact that this is not a homicide case does not mean that this is a case

        undeserving of a life sentence. As described by the district court, Dowell’s acts

        were predatory, calculated, cold, and heinous. J.A. 311. These crimes have

        grievous, enduring effects. Acknowledging that the films that Dowell produced for

        sexual pleasure had ended up in various places, the district court found the conduct

        to be “extremely serious.” J.A. 312. As stated by the father of the young contact

        victims, “[a]part from losing a child, I cannot think of anything more unbearable to

        go through.” J.A. 245.

              The district court thoughtfully considered the seriousness of the overall

        offense conduct and the history and characteristics of Dowell, noting Dowell’s

        lengthy and continued child pornography connection, acts of molestation, and Dr.

        Moore’s conclusion that Dowell’s “interest in pedophilia is not going to diminish

        with age,” J.A. 312-13, and was persuaded that Dowell should remain incarcerated

        for the rest of his life. In reaching this conclusion, the district court addressed the

        need for just punishment, deterrence, and protection of the public, and rightfully

        concluded that this case demanded a life sentence that was not only sufficient but

        also necessary and did not result in unwarranted disparities. Id. The district court

        imposed a reasonable sentence by selecting a term that addressed both the

        seriousness of Dowell’s offenses and future dangerousness. This term

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        simultaneously reflects the seriousness of the offense, promotes respect for the law,

        and provides just punishment. See 18 U.S.C. § 3553(a). The district court was

        very mindful of these sentencing goals in selecting the sentence in this case, and

        Dowell has not overcome the presumption of reasonableness that attaches to his

        within-Guidelines sentence.

              In connection with the issue of general deterrence, Dowell cites and

        discusses supposed research that “shows” that “increases in the certainty of

        punishment, as opposed to the severity of punishment, are more likely to produce

        deterrent benefits.”   Id. at 17-18 (citation and internal quotations omitted).

        Whether or not there is any merit to this study, the district court rightfully found

        that the “life” term imposed was necessary to adequately deter others “who would

        dare to touch a child in this manner and make a video of it to be displayed to

        others.” J.A. 312-13. Moreover, as explained by the district court, the sentence

        was necessary to protect the public from Dowell. J.A. 313.

              In any event, the United States’ and district court’s position rests on a

        foundation established by Congress, the Supreme Court, and the Sentencing

        Commission, as well as a growing body of caselaw, concluding that general

        deterrence is a very important factor when considering an appropriate sentence,

        even in non-production cases. See, e.g., United States v. Irey, 612 F.3d 1160, 1211

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        (11th Cir. 2010)(en banc) (citing New York v. Ferber, 458 U.S. 747, 760 (1982))

        (AThe most expeditious if not the only practical method of law enforcement may be

        to dry up the market for [child pornography] by imposing severe criminal penalties

        on persons selling, advertising, or otherwise promoting the product@);7 United

        States v. Goff, 501 F.3d 250, 261 (3d Cir. 2007) (ADeterring the production of child

        pornography and protecting the children who are victimized by it are factors that

        should have been given significant weight at sentencing.@). In United States v.

        Goldberg, the Seventh Circuit opined that:

              Young children were raped in order to enable the production of the
              pornography that the defendant both downloaded and uploaded B both
              consumed himself and disseminated to others. The greater the
              customer demand for child pornography, the more that will be
              produced. Sentences influence behavior, or so at least Congress
              thought when in 18 U.S.C. ' 3553(a) it made deterrence a statutory
              sentencing factor. The logic of deterrence suggests that the lighter the
              punishment for downloading and uploading child pornography, the
              greater the customer demand for it and so more will be produced.

        491 F.3d 668, 672 (7th Cir. 2007)(internal citations omitted).

              Significantly, the Sixth Circuit in part reversed a district court when the

        court failed to see any importance in general deterrence. See United States v.




              7
                The Irey court noted that "[c]hild sex crimes are among the most egregious
        and despicable of societal and criminal offenses.@ 612 F.3d at 1206.
                                                 46
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        Bistline, 665 F.3d 758,767 (6th Cir. 2012).8           The district court had stated,

        A[g]eneral deterrence ... will have little [if] anything to do with this particular case.@

        Id. The Sixth Circuit found the district court=s statement Ainexplicable and in any

        event conflicts with our statement that >[g]eneral deterrence is crucial in the child

        pornography context[.]@ Id. (citing United States v. Camiscione, 591 F.3d 823,

        834 (6th Cir. 2010)). For all these reasons, the district court’s conclusions in this

        case were well-founded, and Dowell’s sentence should be affirmed.

              Moreover, the Guidelines understandably result in lengthy advisory

        sentences for defendants like Dowell, because their crimes have directly harmed

        children, and in conjunction with the prescribed goals of sentencing, lengthy

        sentences simultaneously punish, deter and protect. The district court was

        unequivocal in its remarks that this case demanded a life sentence, and as set forth

        herein, the district court clearly considered facts supporting the § 3553(a) factors

        before determining that a sentence of 960 months was appropriate.

              Further, in sentencing Dowell to a sentence of imprisonment of 960 months,

        the district court did not create any unwarranted disparity. In fact, courts have, in

        many instances, imposed lengthy, or effectively life sentences for production of


              8
                While Bistline reversed an extremely short sentence, the opinion is a
        strongly worded opinion about the Guidelines and the seriousness of child
        pornography offenses. Bistline, 665 F.3d at 767.
                                                    47
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        child pornography. For example, in Sarras, 575 F.3d at 1220-21, the Eleventh

        Circuit affirmed as reasonable a 100-year (1,200 months) sentence for a first-time

        offender who sexually abused a 13-year-old girl and produced pornographic

        images of the victim. Id. The Sarras court noted several other child exploitation

        cases in which courts upheld lengthy sentences as substantively reasonable. Id.

        See United States v. Johnson, 451 F.3d 1239, 1244 (11th Cir. 2006) (upholding as

        reasonable a 140-year sentence for abusing and photographing three boys between

        the ages of 8 and 16 based on consecutive statutory maximums under 18 U.S.C. '

        2251(e) and ' 2252A(b)(1)); United States v. Williams, No. 13-13353 2013 WL

        6851125, *2 (11th Cir. Dec. 31, 2013)(unpublished)(fact that 100-year sentence

        was less than 110-year statutory maximum is indicative of its reasonableness);

        United States v. Kapordelis, 569 F.3d 1291, 1318-19 (11th Cir. 2009) (upholding

        as reasonable a 420-month sentence, which represented an upward variance from

        the 262-327-month advisory guidelines range and included 240-month sentences

        on counts charging production of child pornography under ' 2251(a) and

        180-month consecutive sentences on counts charging receipt of child pornography

        under ' 2252A(a)(2)(A)); United States v. Huffstatler, 561 F.3d 694, 698 (7th Cir.

        2009) (upholding as reasonable an above-guidelines, 450-month sentence for

        producing pornographic pictures of a 14-year-old boy); United States v. Raplinger,

                                                 48
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        555 F.3d 687, 695 (8th Cir. 2009) (upholding as reasonable a 457-month sentence

        for photographing and having sexual intercourse with a 15-year-old girl), cert.

        denied, 129 S. Ct. 2814 (2009); United States v. Betcher, 534 F.3d 820,

        827-28(8th Cir. 2008) (upholding as reasonable a 750-year sentence for a first-time

        offender who had taken pornographic pictures of five 8- to 11-year-old girls,

        including two of his granddaughters), cert. denied, 555 U.S. 1123 (2009); United

        States v. Vowell, 516 F.3d 503, 511-13 (6th Cir. 2008) (upholding as reasonable a

        780-month sentence for a 40-year-old man who had sexual intercourse with his

        girlfriend's 8-year-old daughter while being videotaped by his girlfriend); see also

        Paton, 535 F.3d at 837-38 (8th Cir. 2008) (concluding that life sentence for five

        counts of production of child pornography was not cruel and unusual punishment

        in violation of the Eighth Amendment); United States v. Pugh, 515 F.3d at 1202

        ("[W]e have typically treated child sex offenses as serious crimes, upholding

        severe sentences in these cases").9

                 This Court recently affirmed a 1,440-month sentence by aggregating the

        maximum sentences for four production counts. United States v. Hallman, No. 13-

        4086 2013 WL 6511516 (4th Cir. Dec.13, 2013)(unpublished). The Court has also

        affirmed, inter alia, the following cases that involved, at least in part, production of

        child pornography convictions:           Schellenberger, supra (affirming 100 year
        9
            Other examples are set forth in the first argument in this brief.
                                                     49
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        sentence that was 10 years shy of the aggregated statutory maximum sentences;

        extra 10-year sentence run concurrent in consideration of his cooperation); United

        States v. Engle, 676 F.3d 405 (4th Cir. 2012)(affirming 480-month sentence which

        was the result of an upward variance); United States v. Mattocks, 408 Fed.Appx.

        717 (4th Cir. 2011) (unpublished) (affirming 600-month sentence for one count of

        production of child pornography involving a 6-year old child and one count of

        transportation of child pornography); United States v. Ebersbach, 489 Fed.Appx.

        635 (4th Cir. 2011) (unpublished) (affirming 360-month Guidelines sentence);

        United States v. Martinez, 453 Fed.Appx. 342 (4th Cir. 2011) (unpublished)

        (affirming of denial of motion to withdraw guilty plea in case where defendant

        received 960-month sentence), cert. denied, 132 S. Ct. 1130 (2012).10

              Likewise, in Irey, the defendant, who engaged in repeated unthinkable

        conduct, was charged in a single count, and ultimately received a sentence of thirty

        years, the maximum for that charge. 612 F.3d at 1222. The Eleventh Circuit,


              10
                 The WDVA imposed 23-year and 25-year sentences respectively in United
        States v. Bruffy, Criminal No. 6:11CR00006, 2012 WL 1003503 (W.D.Va. Mar.
        26, 2012) and United States v. Miller, 534 Fed.Appx. 204 (4th Cir.
        2013)(unpublished). The Bruffy victims were unaware that their images (primarily
        depictions of lascivious exhibition of the genitals) were taken since they were
        asleep. Miller, who was older and had health problems had filmed an
        approximately 14 or 15 year old girl performing oral sex on himself. In a more
        recent case, United States v. Cobler, presently on appeal before this Court, Appeal
        No. 13-4170 the defendant was sentenced to 120 years.
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        sitting en banc, made clear its strong disagreement with the district court=s original

        variance sentence, finding that Ano downward variance ... is reasonable in this

        case.@ Id. Indeed, a reading of the opinion as a whole leaves the impression that

        the Eleventh Circuit may well have thought a higher sentence than that allowed by

        the statutory maximum in that case would have been warranted.               Irey was

        apparently fifty years old at the time of his sentencing and the opinion makes clear

        that his advanced age at the time of release did not justify a shorter sentence. Id.

        at 1205-06.

              In an effort to convince the Court that Dowell’s sentence was somehow

        “heavily influenced by charging decisions by the government that appear atypical”

        and was out of line with other “similar” and “more egregious” cases, Dowell points

        to the 30-year sentence in Irey and the 78-month sentence in United States v.

        Crandon, 173 F.3d 122 (3d Cir. 1999). His reliance on these cases is misplaced.

        The fact that the Government in the Irey case might have been able to charge the

        defendant in that case with multiple charges is not properly the subject of this

        Court’s consideration in determining whether a sentencing disparity exists in this

        case. Irey’s conduct was unquestionably horrific in scope and magnitude, and

        merited the maximum possible penalty. Irey at 1224-25. In Dowell’s case, with

        multiple counts of conviction against very young victims, the district court

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        justifiably found that Dowell should receive the maximum sentence too. The fact

        that Irey ultimately received only thirty years does not create a disparity which

        should in any way detract from the reasonable sentence imposed on Dowell for his

        crimes.

              The offenses in Crandon occurred in 1996. At that time, production of child

        pornography carried no mandatory minimum sentence and was rather punishable

        by up to 10 years of imprisonment. Likewise, receipt of child pornography, the

        offense for which Crandon was convicted, carried the same statutory penalty. The

        Guidelines were also significantly lower for these offenses in 1996 and the

        sentence imposed in that case may well have been within the Guidelines range.

        However, while that case also involved the repeated exploitation of a minor, the

        facts in Crandon are distinguishable. Among other things, the 14-year-old victim

        in that case was significantly older than the especially young children in the

        present case.

              As characterized by the district court, Dowell’s predatory offenses are

        “heinous,” J.A. 312, and support a “life” sentence. While Dowell had no prior

        convictions, he had spent years committing crimes against children and had an

        undeniable longstanding sexual interest in young children.




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              The goals set forth under 18 U.S.C. ' 3553(a)(2)(A) embody the Ajust

        desserts@ concept and Acarries … the need not just to punish but to punish justly.@

        Irey, 612 F.3d at 1206. A longer sentence is warranted the more serious the

        conduct. See id. The less it takes to have the statutory minimum imposed, the

        higher the sentence should be for much worse conduct. Id. at 1209. A single

        image depicting the lascivious exhibition of a 17-year old minor would require a

        15-year sentence. The present case involves much more serious conduct and

        rightfully resulted in a much higher sentence - one that was sufficient to meet the

        goals of sentencing. Dowell’s within-Guidelines sentence reflects the seriousness

        of his offenses, promotes respect for the law, deters future conduct, reflects the

        seriousness of the offense and provides the public with protection from future

        crimes, and likewise affords justice to the child victim. The sentence imposed was

        therefore sufficient but not greater than necessary to meet those goals, and

        accurately reflected all the sentencing factors and should be affirmed.

           III.   THE DISTRICT COURT DID NOT ERR IN APPLYING BOTH
                  FIVE-LEVEL ENHANCEMENTS PURSUANT TO U.S.S.G.
                  §§2G2.2(b)(5 ) AND 4B1.5(b)(1), WHERE THE PROVISIONS
                  HAVE DIFFERENT PURPOSES AND WHERE, IN ANY EVENT,
                  ANY ERROR WOULD BE HARMLESS BECAUSE THERE
                  WOULD HAVE BEEN NO EFFECT ON THE ULTIMATE
                  SENTENCE.




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           A. Standard of Review

              This Court accords due deference to a district court’s application of the

        sentencing guidelines. United States v. Steffen, No. 12-4484, 2013 WL 6698604,

        *2 (4th Cir. Dec. 20, 2013) (citation omitted) (unpublished). If the issue turns

        primarily on a factual determination, this Court applies the ‘clearly erroneous’

        standard; if the issue turns primarily on the legal interpretation of a guideline term,

        the standard moves closer to de novo review. Id. (citations and quotations

        omitted).

           B. Argument

              In his next argument, Dowell claims that the district court erred in applying

        both a five-level enhancement for engaging in a pattern of activity of sexual abuse

        or exploitation of a minor pursuant to U.S.S.G. §2G2.2(b)(5) and a five-point

        enhancement for engaging in a pattern of activity involving prohibited sexual

        conduct under U.S.S.G. §4B1.5(b)(1); more specifically, he contends that the

        application of both constitutes impermissible double counting. Br. of Appellant at

        20. Significantly, he neither denies that Dowell’s conduct qualifies for each of

        these enhancements nor cites a single case in support of his argument.

              As set forth below, besides the fact that any error would be harmless, his

        argument misses the mark because the Sentencing Guidelines themselves

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        contemplate the application of both provisions in the same case.11 Indeed, in an

        unpublished opinion, the Fourth Circuit has already squarely rejected Dowell’s

        precise argument in Schellenberger, 246 Fed.Appx. at 832.

              Section 4B1.5(b) of the Guidelines provides, in relevant part, that A[i]n any

        case in which the defendant's instant offense of conviction is a covered sex crime

        ... and the defendant engaged in a pattern of activity involving prohibited sexual

        conduct: (1) The offense level shall be 5 plus the offense level determined under

        Chapters Two and Three.@ U.S.S.G. §4B1.5(b)(1). APattern of activity@ is defined

        as two or more separate incidents. See id., cmt. n.4(B). A Acovered sex crime@ for

        purposes of this enhancement includes an offense perpetrated against a minor

        under Chapter 110, such as Dowell’s production offenses. Id., cmt. n.2.

        “Prohibited sexual conduct" includes Aany offense described in 18 U.S.C.

        §2426(b)(1)(A) or (B)@ or the production of child pornography. Id., cmt. n.4.

        Thus, the defendant=s conduct in the present case clearly qualifies for this

        enhancement for Counts One through Twelve. This same conduct also triggers the

        enhancement in U.S.S.G. §2G2.2(b)(5).

              In Schellenberger, this Court found that a district court had correctly

        determined that double-counting in this situation was permitted because it was not
        11
           Moreover, as the district court noted, double counting is generally authorized
        unless the Sentencing Guidelines expressly prohibit it. J.A. 175 (citing United
        States v. Crawford, 18 F.3d 1173, 1179 (4th Cir. 1994).
                                                  55
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        expressly prohibited by the Sentencing Guidelines. See 246 Fed.Appx. at 832.

        The Court went on to note that the language in §4B1.5(b)(1) indicates that its

        five-level enhancement Ais to be added to the offense levels determined under

        Chapters Two and Three@ and therefore, Athe guidelines intend the cumulative

        application of these enhancements.@ Id; see also United States v. Bastian, 650 F.

        Supp. 2d 849, 869-70 (N.D. Iowa 2009) (acknowledging that the two provisions

        involve the same pattern of activity but explaining that the Sentencing Commission

        intended cumulative application of §§2G2.2(b)(5) and 4B1.5(b)(1), and that the

        sections concern Aconceptually separate notions@ in that A[t]he §2G2.2(b)(5)

        enhancement is a specific offense characteristic for crimes involving child

        pornography@ while A§4B1.5 was created to address recidivism concernsA)(citing

        §4B1.5 cmt.) aff=d, Bastian 603 F.3d 460 (8th Cir. 2010); United States v. Wilson,

        No. 1:07CR-219, 1:07-CR-297, 2007 WL 3070361, *2 (E.D.Va. Oct. 19, 2007)

        (unpublished) (Aeven where a five level enhancement applies to one particular

        count under Section 2G2.2(b)(5), an additional five level enhancement may apply

        to the combined offense level under Section 4B1.5(b)(1)@); United States v. Fred,

        No. CR-050801, JB., 2008 WL 2229527, *9 (D.N.M. Feb. 8, 2008)

        (unpublished)(citing Schellenberger and also stating the court=s belief Athat there is




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        some cumulative nature to what the Guidelines do, and that Congress intends the

        Guidelines to be cumulative for sex crimes against minor victims@).

              Likewise, in United States v. Carter, 292 Fed.Appx. 16, 20 (11th Cir. 2008)

        (unpublished) the Eleventh Circuit rejected a defendant's argument that application

        of both sections constituted impermissible double counting. First, as in

        Schellenberger, the court noted that Athe Sentencing Commission intended for

        Guidelines sections to apply cumulatively.@ Id. Second, like this Court, the court

        relied on the specific language of the guidelines to hold that the two sections were

        not mutually exclusive, as §4B1.5(b)(1) explicitly states that the enhancement

        Ashall be 5 plus the offense level determined under Chapters Two and Three.@ Id.

        (quoting U.S.S.G. §4B1.5(b)(1)). The Eleventh Circuit found this language to be

        indicative of the Sentencing Commission's intent that the pattern of abuse

        enhancement in the offense guideline be “added” to the Chapter 4 enhancement.

        Id. (emphasis in original). The court reasoned that the two sections address

        different harms, and therefore no double counting occurs. Id. While §2G2.2(b)(5)

        Aaddresses the fact that the offense itself involved a pattern of sexually exploiting

        minors,@ §4B1.5(b)(1) Alooks at the likelihood that the defendant will become a

        repeat offender and whether lengthy incarceration is therefore needed to protect the

        public.@ Id.

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              In any event, even assuming arguendo that the application of both

        enhancements was improper, any resulting error is harmless because 1) as found by

        the district court, the double counting only affected Count Thirteen, J.A. 155-56;

        and 2) the district court made it wholly clear that “[j]ustice requires a life

        sentence.” J.A. 315.

              The district court found that Counts Four, Eight, Nine, and Thirteen each

        had the highest total offense level of 42. J.A. 180-81. Counts One, Five, Six,

        Seven, and Ten each had a total of 40. Id. Counts Eleven and Twelve had the

        lowest calculation, at 38. J.A. 181. Given the number of counts and the fact that

        Count Thirteen, the only charge to be calculated under U.S.S.G. §2G2.2, did not

        result in the highest offense level, discarding that charge would have no effect on

        the total adjusted offense level. The subtotal offense level would still be 44, see

        J.A. 182, even before the addition of the enhancement under §4B1.5.

              This Court has found has found harmless error where a district court has

        indicated that it would have imposed the same sentence in the absence of an

        erroneous enhancement and any resulting variance is reasonable. See United

        States v. Savillon-Matute, 636 F.3d 119, 124 (4th Cir. 2011)(citations omitted). In

        the present case, not only is it clear that the district court intended to impose a life

        sentence regardless of the enhancement, there would have been no variance even in

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        the absence of the enhancement because Dowell would still have faced an advisory

        life range. Consequently, Dowell’s third claim must fail.

           IV.      THE DISTRICT COURT DID NOT ERR IN APPLYING THE
                    VULNERABLE VICTIM ENHANCEMENT IN THIS CASE
                    BECAUSE DOWELL’S YOUNGEST VICTIM WAS ESPECIALLY
                    YOUNG AND CLEARLY SUSCEPTIBLE TO DOWELL’S
                    GROOMING BEHAVIOR.


           A. Standard of Review

              This Court accords due deference to a district court’s application of the

        sentencing guidelines. United States v. Steffen, No. 12-4484, 2013 WL 6698604,

        *2 (4th Cir. Dec. 20, 2013)(citation omitted)(unpublished). If the issue turns

        primarily on a factual determination, this Court applies the ‘clearly erroneous’

        standard; if the issue turns primarily on the legal interpretation of a guideline term,

        the standard moves closer to de novo review. Id. (citations and quotations

        omitted).

           B. Argument

              In his final argument, Dowell claims that the district court erred in applying

        the vulnerable victim enhancement under U.S.S.G. §3A1.1(b)(1) because,

        according to Dowell, the district court applied the enhancement based on factors

        already accounted for in the offense guideline. Dowell is wrong.



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                 The Guidelines allow for a two-level enhancement “[i]f the defendant knew

        or should have known that a victim of the offense was a vulnerable victim.”12

        U.S.S.G. §3A1.1(b)(1). “No more is required than the actual vulnerability of the

        victim and the defendant’s knowledge of that vulnerability to support application

        of the enhancement.” United States v. Etoty, 679 F.3d 292, 295 (4th Cir.)(citation

        and internal quotations omitted), cert. denied, 133 S.Ct. 327 (2012). The United

        States bears the burden to prove, by a preponderance of the evidence, that the

        enhancement should be applied. Steffen at *2.

                 Dowell is correct that the commentary proscribes the application of this

        enhancement “if the factor that makes the person a vulnerable victim is

        incorporated in the offense guideline. For example, if the offense guideline

        provides an enhancement for the age of the victim, this subsection would not be

        applied unless the victim was unusually vulnerable for reasons unrelated to age.”

        U.S.S.G. §3A1.1(b)(1), comment. (n.2). Thus, to apply the enhancement, a district

        court must “rely on factors unrelated to the calculation of [a defendant’s] offense

        level. United States v. Grubbs, 585 F.3d 793, 805-06 (4th Cir. 2009).

                 The United States objected to the absence of the enhancement in the initial

        PSR. The probation officer agreed with the United States and amended its report



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             At minimum, Dowell “should have known” Minor A was vulnerable.
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        to reflect the two-level enhancement in each of Counts 1-10 and 13, regarding

        Minor A. See J.A. 360.

              A vulnerable victim enhancement may be applied when victims of child

        pornography offenses are especially young. See United States v. Jenkins, 712 F.3d

        209 (5th Cir. 2013). In Jenkins, which upheld the application of the enhancement

        in a child pornography trafficking case, the Fifth Circuit explained that, while §

        3Al.1 generally does not apply when a factor such as age is already incorporated in

        the offense guideline, the additional enhancement was appropriate because of the

        presence of depictions of very young children in the defendant’s child pornography

        collection. In support of its holding, the Fifth Circuit cited a prior Ninth Circuit

        case, United States v. Wright, 373 F.3d 935 (9th Cir. 2004), which approved of the

        enhancement because of the small physical size and characteristics of extreme

        youth associated with infants and toddlers.13 The Jenkins and Wright courts

        appeared to focus their attention on the fact that a very young child is

        developmentally different than an older minor in significant ways and thus may be

        especially vulnerable to child pornography offenses.

              The district court cited with approval Jenkins and Wright, and rightfully

        found that the videos in the present case conclusively demonstrated that the three-

        13
          The Ninth Circuit did further note that these characteristics may vary with
        each child. See Wright at 943.
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        year-old victim was vulnerable in ways that an older child – including, even Minor

        B - would not be. See J.A. 168-73. For example, Minor A could not comprehend

        the nature of the defendant’s conduct, other than that he “played” with her. J.A.

        172. As the district court further found, the videos show the defendant engaging in

        successful grooming-type behavior, which also demonstrated Minor A’s particular

        vulnerability.

              In finding that the enhancement was warranted in the present case, the

        district court noted characteristics of Minor A besides her very young age, such as

        her “cognitive abilities” and her inability to understand what was happening to her,

        and stated that this demonstrated “the particular vulnerability psychologically in

        this child.” J.A. 172-73. In other words, Minor A’s age and willingness to

        participate in the defendant’s abusive “play” without any apparent understanding

        of the nature of the conduct demonstrated just how vulnerable she was. As such,

        the vulnerable victim enhancement was entirely appropriate in this case and should

        be affirmed.

              Notably, the Jenkins case was a child pornography trafficking case and did

        not involve the hands-on exploitation that is extensive in the present case. Thus,

        given the especially young children depicted in Dowell’s collection, the

        enhancement may also have been applied based on Dowell’s child pornography

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        collection. In any event and in light of the above, the district court did not err.

        Finally, for the same reasons, as set forth in Argument III, any error would have

        been harmless.

                                           CONCLUSION

              For the foregoing reasons, we respectfully request that the Court affirm the

        judgment and sentence imposed by the district court.




                                                        Respectfully submitted,
                                                        TIMOTHY J. HEAPHY
                                                        United States Attorney


                                                        s/Nancy S. Healey
                                                        Assistant United States Attorney
                                                        (VA Bar No. 39447 )




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                           CERTIFICATE OF COMPLIANCE

              This brief has been prepared using fourteen point, proportionally spaced,

        serif typeface – Microsoft Office Word 2007, Times New Roman, 14 point, and is

        in compliance with Fed. R. App. R. P. 32(a)(7)(B).

              This brief contains 63 pages and approximately 13,943 words, excluding the

        parts of the brief exempted by Fed. R. App. P. 32(a)(7)(B)(ii), and is in compliance

        with Fed. R. App. P. 32(a)(7)(B).

              I understand that a material misrepresentation can result in the Court striking

        the brief and imposing sanctions.


                                                      s/Nancy S. Healey
                                                      Assistant United States Attorney
                                                      (VA Bar No. 39447 )




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                                    CERTIFICATE OF SERVICE

              I certify that on January 22, 2014, I electronically filed the foregoing Brief

        of Appellee with the Clerk of the Court using the CM/ECF System, which will

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                                                       s/Nancy S. Healey
                                                       Assistant United States Attorney
                                                       (VA Bar No. 39447 )




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